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    UNXiFX- SPATES DIS'lKlCT CGU;;'i
                                                        * JULtl®! *                             PROSE OFFICE
    EASTE;-Ci\ i^lbli<ICi Olr                 YCii.vA                         OFFICE
     SAUL SAi'XKC,                                  p       ^               KOTICK OF i-iCilOW TO AKlKj
                                                                            CG i^it'LATivT
                                                                                       10 ADD
                '          Plaiiiti£f-Pro Se,
                                                                            DEFEELAKT PURSUANT.TO U.5
                 )
                                                                            FEDERAL RULES OF CIVIL
            — « ^« i n s t ■"
                                                                            PROCEDURE RULE 15(a)(^)
     City of Lew YaL-k,et al. ,
                 >■
                                                                            Case No. 20-cv-05861 !
                 i         ueteiician ts.

                                                        X
     To: Honorable Eric R. Komitee, United States District Judge
                                       STATEMENT OF             FACTS
           Un         sDout     June    04tii, 2019, rlsintiff Sabino \.'as been
     discharged from a [NYC h'ealth    liospital Corp.] Broo.<lyii Weu/|                                                   K
     Hospital^, when the l^oSpital was about to discharged Plaintiff,                                                 N YC
     NYPD Police officers said to Plaintiff
                                   '        Sabino, He was under arreg
     while still in the hospital bed, when asked why? Plaintiff was
     inform by the NYC NYPD Police Officers                                 that he had ah           ac tiv^ i             c-l
     ing Pardjle Warrant".                                                                                     |
           Plaintiff politely said to the NYC-NYPD Police Officers thet
     their Pa-role Warrant information was "invalid, an error, and! tc t                                                   I-I
     ly WRONG" Since Plaintiff Sabino's "MAXIMUM EXPERATION DATE"                                                  W£ s
     on "Nov'ember 21th,2018" the prior year,                                Plaintiff        Sabino   theh 'G kVE"
     NYC NYPD-Police Officers his "New York State Department of Cpin                                            d:-|
     Community $upervision"lNMATE IDENTIFICATION NUMBER ^08-A".114g iri
     Plaintiff said to the NYC-NYPD Police Officers to please "CHECiJ'                                                     M is
     inmate DIN Number in the NYS DOCCS website for "INMATfc                                                              le
     NYC NYPb.POLICE OFFICERS "Decline and Refused" to simply cneck tn
     online NYS INMATE LOOKUP to verify Plaintiff's Sabino's testimon
     and story.
           Instead       the NYC NYPD Police Officers                         took Plaintiff Sabi
     to NYC Department of Correction AMKC Facility at Rykers Isl
     on June 04th.2019, right from the hospital. Plaintiff Sabino                                                  was
     assigned an 'INMATE Book & Case Number# 141-190-5106"By AMKC
     Dept. Of Correction and placed in the " Maximum Classificati
     sing Unit Cell Only Quad 6 Upper"called the                                             DARK   SIDE       we :e
     Plaintiff Sabino '"^-'-*-                 1^           -i          ^        -
     in NYC Jail
    TIFF SEE,NOR
    TO WHY HE WAS HELD AND
                                       ....                                   and liberty "WITHOU . u
    DUE PROCESS OF                     untill finally released without any tyffe if
    reasons on AUGUST            14th,2019, See Attached,Exhibit A,"History of-
     [Plaintiff*sJIncarceration In the Custody of New York City pept
    of Correction,page 2 of 2, under Book & Case #141-190-5106 fron-t
    June04,2019 to Augustl4,2019 AMKC Total of 72days". U.S. Consti
     tutional 14th Amendment & NYS Constitutional Article 1 Sec.^ "J:. t h
    out"    the RIGHT to"Due Process of Law"and negligences by NYC
    Plaintiff humbly request this Court grants him "relief" forlthiil-
    GRAVE wrong done to him, by the City of New York the Defendants
                                              Page 1 of 3.                                                 !
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    Sabino       City of New York, at al,, Case No. 20-cv-05861
    Declaratipn In Support of Motion To Amend Complaint To Add Defen i
    ant Pursuant To Fed R. Civ. Proc. Rule 15(a)(2) (EK)

                        DECLARATION OF SAUL SABINO
                             " ■    ■■   ■   ■   ' !   ■■   I I
                                                                                 I
                                                                                 I




             My name is Saul Sabino Plaintiff Pro Se, and I reside |at
    18-18 Hazen Street,East Elmhurst,NY 11370. I declare ^nder penall
      of perjury that all of the following is true and correct of my
      persona,! knowledge, and that if called as a witness in this |
      matter,I-1 could and would competently testify to each of the
      facts s,6t forth herein and below:                             j
             1;.' I am the Plaintiff Pro Se in this matter. I am thei^ef )re,,
     fully fjamiliar with the facts and circumstances of this action,
           2,. This declaration is submitted in support of notice o:
      Motion To Amend Complaint and To Add Defendant, to which this
     declara;tion is attached.
               The original Complaint in this matter              demanded judgmari
     againstPjDefendant for the amount of $145,000. in damages or hunljjLy
     whatever this Court deems fit , fair, and just.
           4.' The existence of Defendant's officially adopted polic/
     from New York Correction Law Section 500-c was part of the ^ola
     cause, injury, and deprivation to Plaintiff's U.S. Constitutiione.
     right to due process of law and other civil rights violated|tod.
     Since.Dd,fendant negligently failed to have adequate supervision
     of Plaintiffs wrongful-illegally detainment, and failed to il'elaijse
     Plaintiff in a timely fashion upon knowledge of plaintiff's jv^rD^^-'
     ful-illdgal incarceration. The Statute does "NOT absolve"Defeni
     (City of New York) from liability for their* negligence and Wren
     ul acts ^                                                               I
             5.Defendant was negligent and misfeasance in the perforiraijice
     of their duties. On the basis that Defendant k^ew of Plaintiff'
     wrongfulrillegal incarceration within hours and days from tljie f               r-
     st day of June04th,2019 illegal Commitment to custody. Since th
     Plaintiff informed Defendant s NYC Dept. Of Correction AMKC|ard
     NYS Dept':Of Corr & Community Supervision via" NYC Jail RECORDID
     INMATE PHONE SERVICES"(Whicfx can be Subpoena Per Rule 45) anc
     U.S.P.S. mail. Yet To No avail from Defendant bothCity of New Y
     and NYS Dept. Of Corr & Community Supervision.                          |
           6. The Court can "see attached on EXHIBIT A, "HistoryI oj
     Plaintiff's Incarceration in the Custody of New York City Depi.
     Corr. thkt" Plaintiff had NO Criminal Charges Detaining himldi r
     the 72 DAYS HELD FROM JUNE 04th,2019 to August,14,2019*^ and t(
     further Proof and VERIFY this CLAIM . Plaintiff humbly request, tilie
     COURT "ORDERS" Defendant(City Of New York) to produced l.Ja[ll Tinie
     records and Certificates Pursuant to NY Correction Law- Sec.60O-^
     and 2. Records of Commitments and Discharges pursuant to NeW~
     Correction Law Sec.500-f which are kept"PERMANENTLY"bv law.I

                              2    of 3.
                                                                                Sabino'v. City of New York,et al., Case No.20-cv-05861
                                                                                Declaration in Support Of Motion To Amend Complaint To Add
                                                                                Defendant Per'.Fed R. Civ. Proc. Rule 15(a)(2)
                                                                                        7i This Motion to Amend will not cause undue delay a Sinoej
                                                                                discovery has not commenced in this matter. The changes in |th      Coni
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                                                                                plaintr could NOT possibly prejudice the Defendant in its |abLl
                                                                                to defend on the merits because the claim s of amended ComplaLr
                                                                                arise '^ut of the samr transactions and facts and circumtamiice 3
                                                                                set s forth in the original complaint.
                                                                                                                            Saul Sabino P!
                                                                                                                                Se 349jiU     j.
                                                                                        \A                                  18-18 tiazen Street
                                                                                                                            E.Elmhust, NY II37O
                                                                                Dated        June 28,2022
                                                                                CC:     City Of New York Counsel-
                                                                                      C6rf>,Ccuns6/         'fVeyijfofK
                                                                                      /OthCkurck si.^       3-ja$
                                                                                      f^iujyoTk, hi'i looo'i
                                                                                        '                    Page 3 of 3.
                                                                                                   M'J HideiyuB/eiS^au A-K-
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                EXHIBIT A
Case 1:20-cv-05861-EK-JRC Document 32 Filed 07/11/22 Page 5 of 8 PageID #: 86



                                                                 NEW YORK CTIY DEPARTMENT OFCORREC n iM
                                                                                        Cynthia Btann, Conlhue lio        ,ej:



                                                                                                           Laura S. Mi;
                                                                                          Senior Counsel •I FOIL
                                                                                                              I
                                                                                                                 Off ,<
                                                                                                 75-20 Astoria Boi le\ g rc i
                                                                                        East Elmhurst, New York I LlyC

                                                                                                             71|S-54 1-0)5:
                                                                                                         Fax 718-27 1-6 )b:

                                                                             Apr 8,2021

     Saul Sabino B&C# 3492002006
     GRVC
     09- 09 Hazen Street
     EastElhurst,NY 11378



     Dear Mr. Sabino,

     This letter is to acknowledge and respond to the inquiry you sent to the New York City
     Department of Correction.


     Please see attached history of your incarceration in the custody ofNew York Chy Department of
     Correction.
     Your latest/ current incarceration started Aug 11,2020.



                                                                           Very truly yours,

                                                                                pr
                                                                           Jail Time Coordinator
                                                                           Legal Division




                    visit NEW YORK'S BOLDEST on the Web at www.ci.nyc.nyMs/htwl/doc/home.html
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                          New Hi.s1:ory NYSID Number Search (QNH#)

                              Discharged After April 25, 1990

                          Din » Days incarcerated Total Per Record



Bran     Nyald #      Book&case# Last Name   First Name Admit Date —Din     Disc Oatc

        01052307M     1410517369   SABINO    SAUL               No   Piabllc Recoi^d
        01052307M     1410616680   SABINO    SAUL       20-S&P-06     2S3   30-MAY-0'i
        01052307M     1410522070   SABINO    SAUL       24-DEC-05      46   07-FEB-0(
        01052307M     1411507840   SABINO    SAUL       11-AU.G-15     74   23-OCT-l!
        01052307M     1411803859   SABINO    SAUL       23-i3UN-18     33   25-JUlJ-l{
       in 01052307M   1411903106   SABINO    SAUL       04-JUN-19      72   14-AUG-l!
        01052307M 4411?04484 SABINO          SAUL       22-AUG-19    100    29-NOV~ll ^1!
        01052307M 8950701690 SABINO          SAUL       23-OCT-07    133       MAl^-
                                                                            03-:   -Of
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